 Case: 1:19-cv-08318 Document #: 1100 Filed: 01/15/25 Page 1 of 6 PageID #:40402




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


  IN RE TURKEY ANTITRUST LITGATION                  Civil Action No. 19-cv-08318

 This Documents Relates To:                         Hon. Sunil R. Harjani
                                                    Hon. Keri L. Holleb Hotaling
 Direct Purchaser Plaintiff Actions


             DECLARATION OF BRIAN D. CLARK IN SUPPORT OF
DIRECT PURCHASER PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF
 SETTLEMENT WITH CARGILL AND APPROVAL OF A CLAIMS PROCESS AND
                          NOTICE PLAN

       I, Brian D. Clark, declare under oath, as follows:

       1.      I am a Partner in the law firm of Lockridge Grindal Nauen PLLP. This Court

appointed my firm, together with the firm of Hagens Berman Sobol Shapiro LLP, as Interim Co-

Lead Counsel for Direct Purchaser Plaintiffs (“DPPs”) in this litigation. (See ECF No. 143). I

have full knowledge of the matters stated herein and could and would testify thereto.

       2.      I submit this Declaration in support of DPPs’ Motion For Preliminary Approval Of

Settlement With Defendant Cargill And Approval Of A Claims Process And Plan Of Notice filed

simultaneously herewith. For purposes of this Declaration “Cargill” refers collectively to Cargill,

Incorporated and Cargill Meat Solutions Corporation.

       3.      Tyson’s market share of the Turkey market (as turkey is defined in the Settlement

Class) is roughly 4-5% and Cargill’s is approximately 20-21% of the market as defined in the

Settlement Class and approximately 30-31% of the Litigation Class.

       4.      On behalf of DPPs, Interim Co-Lead Counsel conducted settlement negotiations

with counsel for Cargill over the course several months and on numerous occasions. As a result
 Case: 1:19-cv-08318 Document #: 1100 Filed: 01/15/25 Page 2 of 6 PageID #:40403




of these negotiations, the parties recently signed the proposed Settlement Agreement. A true and

correct copy of the proposed Settlement Agreement is attached as Exhibit A to this Declaration.

       5.      Prior to filing DPPs’ initial complaint—the first complaint filed in this litigation—

in December 2019, Interim Co-Lead Counsel commenced an extensive investigation into the

United States’ Turkey market and the conduct underlying the allegations set forth in DPPs’ initial

complaint (ECF No. 1). As Interim Co-Lead Counsel, we have spent thousands of hours vigorously

litigating this case on behalf of the DPP Class. We successfully opposed Defendants’ motions to

dismiss and coordinated and led the review, cataloging, and analysis of the nearly 2 million

documents produced by Defendants. Plaintiffs have taken over 75 depositions of Defendants’

employees and their Co-Conspirators and over 15 depositions of non-parties. Most of these

depositions were taken by attorneys from Interim Co-Lead Counsel’s firms. Because of the

substantial information we have obtained through our investigation and formal discovery, DPPs

were fully aware of the strengths and weaknesses of each party’s position prior to executing the

proposed Settlement Agreement.

       6.      Additionally, during the course of the litigation, Interim Co-Lead Counsel have

researched and analyzed many legal and factual issues contested by the parties. We thoroughly

evaluated the relative strengths and weaknesses of the parties’ respective litigation positions in

relation to this proposed Settlement Agreement. Because of our research, analysis, and evaluation,

we were well informed of the facts, benefits, risks, and consequences of the proposed Settlement

Agreement.

       7.      The resulting settlement negotiations with Cargill were at arm’s length and were

hard fought at all times. The proposed Settlement Agreement with Cargill is the product of

intensive settlement negotiations conducted over a period of nearly two years, including one




                                             2
 Case: 1:19-cv-08318 Document #: 1100 Filed: 01/15/25 Page 3 of 6 PageID #:40404




formal mediation day with mediator Greg Lindstrom, as well as numerous follow-ups with the

mediator and numerous one-on-one communications between the parties after the initial mediation

failed to resolve the matter. The parties debated many issues, and negotiated many terms of the

proposed Settlement Agreement, including the amount of payment, the timing of payment,

potential conditions on payment, the effect of opt-outs on any settlement, and potential cooperation

against other Defendants. Throughout this process, Cargill was represented by experienced,

sophisticated counsel.

       8.      There was no collusion or preference among counsel for the parties at any time

during these settlement negotiations. To the contrary, the negotiations were contentious, hard

fought, and fully informed. Interim Co-Lead Counsel sought to obtain the greatest monetary

benefit possible for the Settlement Class. Furthermore, there was no discussion or agreement at

any time regarding the amount of attorneys’ fees Interim Co-Lead Counsel would petition the

Court to award in this case.

       9.      DPPs’ Class Representatives are not afforded any special compensation under the

proposed Settlement Agreement, and all proposed Settlement Class members similarly share a

common interest in obtaining Cargill’s cooperation to prosecute this case.

       10.     Under the proposed Settlement Agreement, Cargill agrees to pay the sum of

$32,500,000 to the settlement fund within twenty-one (21) days of the Court’s grant of Preliminary

Approval. (See Ex. A, Settlement Agreement § 9.) Cargill also agrees to cooperate with DPPs in

prosecuting any remaining claims against other Defendants. Cargill’s cooperation will include

providing DPPs with (a) declarations or affidavits regarding business record foundation for certain

identified documents and (b) live witnesses at trial. (See id. § 10.) This brings the total monetary




                                             3
 Case: 1:19-cv-08318 Document #: 1100 Filed: 01/15/25 Page 4 of 6 PageID #:40405




recovery on behalf of the DPP Class to $37,125,000, as Plaintiffs settled with Tyson in 2021 for

$4,625,000.

       11.     The proposed Settlement Agreement requires Interim Co-Lead Counsel to send out

notice to potential members of the Settlement Class of, among other things, the fact and material

terms of the proposed Settlement, instructions on how to opt of the proposed class or object to the

Settlement, and other information. (See Ex. A, Settlement Agreement § 6.) The type of notice

plan proposed here, which relies on direct notice to the extent practicable to class members who

can be identified through reasonable effort, supplemented by publication notice, has been

successfully implemented in this case (see Order Preliminarily Approving DPPs’ Settlement with

Tyson Defendants (ECF No. 265)) and in other direct purchaser actions, including In re Broiler

Chicken Antitrust Litigation. A copy of the relevant order is attached as Exhibit B to this

Declaration. (In re Broiler Chicken Antitrust Litig., 1:16-cv-08637 (N.D. Ill. Jan. 8, 2020) (ECF

No. 3394) (Order Granting DPPs’ Motion for Preliminary Approval of Settlements with

Defendants Peco Foods, Inc. George’s Inc., George’s Farms, Inc., and Amick Farms, LLC)).

       12.     I have practiced law and specialized in antitrust class action law since 2009, and I

have prosecuted numerous antitrust class actions as lead counsel or other leadership positions. I

have personally negotiated many settlements. In my opinion, and in that of my Interim Co-Lead

Counsel colleagues, the proposed Settlement Agreement with Cargill is fair, reasonable, and

adequate. The proposed Settlement provides substantial benefits to the Class and avoids the delay

and uncertainty of continuing protracted litigation against Cargill.

       13.     After a competitive bidding process in connection with the Tyson Settlement

Agreement, Interim Co-Lead Counsel selected and now propose A.B. Data, Ltd. to administer

notice the Settlement Class Members. There are efficiencies and cost-savings in having the same




                                             4
 Case: 1:19-cv-08318 Document #: 1100 Filed: 01/15/25 Page 5 of 6 PageID #:40406




claims administrator perform these services for each settlement DPPs reach. The details of the

proposed class notice program are discussed in our Motion and the supporting Declaration of Eric

Schachter. In DPPs’ Motion, we ask the Court to appoint A.B. Data as claims administrator in this

case.

        14.    After a competitive bidding process in connection with the Tyson Settlement

Agreement, Interim Co-Lead Counsel selected and again now proposes The Huntington National

Bank to act as the escrow agent and provide escrow services in this litigation for the Cargill

Settlement. There are efficiencies and cost-savings in having the same escrow service perform

these services for each settlement DPPs reach. More information about The Huntington National

Bank can be found in the supporting Declaration of Robyn Griffin. In DPPs’ motion, we ask the

Court to appoint The Huntington National Bank as the escrow agent in this case.

        15.    The judgment sharing agreement referenced at paragraph 12 of the Cargill

Settlement Agreement is very similar to the one among most Defendants in the Broilers case. Both

agreements removed an amount reflecting the settling Defendant’s sales of the product in question

(i.e., turkey or broilers) to the DPP Class from any damages award resulting from a verdict and

Final Judgment DPPs obtain against any other Defendant who is a signatory to the judgment-

sharing agreement. See Exhibit C (copy of the Direct Purchaser Plaintiff settlement agreement

with Defendant Pilgrim’s Pride in In re Broiler Chicken Antitrust Litigation, Case No. 1:16-cv-

08637, ECF No. 4259-1 (N.D. Ill.)). Thus, any other such Defendant against whom DPPs obtain a

verdict and judgment would not be jointly and severally liable for the settling defendant’s share of

damages.

        16.    Attached hereto as Exhibit D is a true and correct copy of Judge Durkin’s order

granting preliminary approval of direct purchaser plaintiffs’ settlements with defendants Tyson




                                             5
 Case: 1:19-cv-08318 Document #: 1100 Filed: 01/15/25 Page 6 of 6 PageID #:40407




and Pilgrim’s Pride, certifying the settlement class, appointing counsel for the settlement class,

and approving the proposed notice plan. In re Broiler Chicken Antitrust Litigation, Case No. 1:16-

cv-08637, ECF No. 4341 (N.D. Ill. Feb. 25, 2021).

       17.     Attached hereto as Exhibit E is a true and correct copy of Judge Tunheim’s order

granting approval of the proposed notice plan and claims process for direct purchaser plaintiffs’

settlements with defendants JBS and Smithfield. In re Pork Antitrust Litigation, Case No. 18-cv-

01776, ECF No. 1208 (D. Minn., Mar. 7, 2022).

                                            *       *      *

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on January 15, 2025, at Minneapolis, Minnesota.



                                             s/ Brian D. Clark
                                             Brian D. Clark




                                            6
